            Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 1 of 27




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


FOUR WOMEN HEALTH SERVICES, LLC,

                       Plaintiff,

v.                                                     Civil Action No. 24-12283

ABUNDANT HOPE PREGNANCY
RESOURCE CENTER INC., d/b/a
ATTLEBORO WOMEN’S HEALTH CENTER,
CATHERINE ROMAN, NICOLE CARGES,
and, DARLENE HOWARD,

                       Defendants.


                             COMPLAINT AND JURY DEMAND

                                        INTRODUCTION

       1.      Plaintiff Four Women Health Services, LLC (“Four Women”) brings this action

against Defendant Abundant Hope Pregnancy Resource Center Inc. d/b/a Attleboro Women’s

Health Center (“AWHC”), Catherine Roman, Nicole Carges, and Darlene Howard (collectively,

“Defendants”) to halt Defendants’ unlawful practices of interfering with women seeking to obtain

reproductive healthcare services at Four Women.

       2.      “Access to reproductive health care services . . . is a right secured by the constitution

and laws of the commonwealth.” M.G.L. ch. 12, § 11I 1/2. Defendants actively manipulate the

lawful reproductive healthcare marketplace to deprive women of this right.

       3.      Interfering with women’s access to reproductive healthcare is not new. Women

seeking reproductive healthcare have faced intimidation, obstruction, and other forms of

interference for decades. Since 1994, the Freedom of Access to Clinic Entrances Act (“FACE

Act”), 18 U.S.C. § 248, has helped shield many women from such conduct—but it has led some

organizations to pursue more sophisticated interference strategies.


                                                  1
            Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 2 of 27




       4.       AWHC is an organization whose mission is to prevent women from obtaining

reproductive healthcare services, especially abortion care. In furtherance of this mission, it

engages in false advertising, deception, and recently, technological attacks to redirect patients from

Four Women to AWHC and prevent them from receiving their chosen and preferred reproductive

healthcare services.

       5.      Defendants’ false advertising and deception begins with AWHC’s marketing. Its

anodyne name and website contents, including prompts to make appointments in connection with

abortion care, are designed to deceive women into believing AWHC is a licensed medical provider.

       6.      AWHC is not a licensed medical facility. It cannot lawfully provide ultrasounds,

gynecological care, or any of the other medical services it advertises on its website.

       7.      Recently, Defendants have employed more advanced technological methods to

specifically target Four Women patients. Four Women has learned of multiple cases in which

AWHC has intercepted communications between Four Women and patients 1 scheduling

appointments. Within minutes of communicating with Four Women, the patients received a call

on their cell phone from AWHC. These Four Women patients had never called or contacted

AWHC; AWHC’s outreach arose only after the women contacted Four Women.

       8.      Once on the phone, AWHC employed several strategies to prevent the women from

showing up to their Four Women appointments: In some cases AWHC indicated that it was Four

Women, to hijack the potential appointment or cause the patient to believe her Four Women

appointment had been canceled; and in others it suggested it was affiliated with Four Women,

falsely instructing the woman she must receive an ultrasound at AWHC before her Four Women

procedure, in an attempt to derail the woman’s pursuit of services from Four Women.


1
 This Complaint refers to “patients” herein to encompass both existing Four Women patients and
prospective patients.
                                                  2
            Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 3 of 27




       9.      AWHC’s unlawful outreach to Four Women’s patients appears to be the result of

Defendants’ infiltration of Four Women’s electronic platforms. AWHC intercepts messages sent

by women seeking reproductive healthcare services from Four Women with a goal of disrupting

the process and misdirecting them to prevent Four Women patients or potential patients from

receiving the reproductive healthcare services they seek.

       10.     Once onsite, AWHC’s scheme to obstruct Four Women patients’ access to Four

Women involves a combination of deceptive maneuvers. AWHC’s physical location alone is

designed to deceive Four Women patients into inadvertently entering AWHC—in 2018, after

much effort, AWHC moved essentially next-door to Four Women. Once inside, AWHC often

coerces women who enter to prevent or delay their departure, including by instructing them they

must receive certain care at AWHC (such as ultrasounds) prior to their Four Women appointments.

AWHC then purports to perform medical services for these women, despite lacking the requisite

license to do so, and the medical “advice” it provides is often dangerously inaccurate.

       11.     At minimum, AWHC’s conduct delays and frustrates women seeking care from

Four Women by an hour or two. Four Women is aware of several instances in which women

eventually returned to Four Women and were able to access care, but days later than intended.

       12.     When it comes to reproductive healthcare, several days of delay may make all the

difference in a woman’s health or the care she can safely receive. Four Women can only imagine

how many women have been deterred or blocked from receiving any care from Four Women as a

result of AWHC’s deception, or how many women AWHC has placed at risk through its illegal

and dangerous medical advice.

       13.     Four Women brings this action to prevent Defendants from continuing to interfere

with women’s access to reproductive healthcare through these unlawful means.



                                                3
          Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 4 of 27




                                            PARTIES

       14.     Plaintiff Four Women is a Massachusetts limited liability company organized under

the laws of Massachusetts and with a principal place of business in Attleboro, Massachusetts.

       15.     Defendant AWHC is a nonprofit corporation organized under the laws of

Massachusetts in 2010 under the name the Attleboro Women’s Center Incorporated. On January

25, 2011, the Attleboro Women’s Center Incorporated changed its name to Abundant Hope

Pregnancy Resource Center Inc. (“Abundant Hope”). It maintains a principal place of business in

Attleboro, Massachusetts, and does business under the name Attleboro Women’s Health Center.

       16.     Defendant Catherine Roman is the President of Abundant Hope and resides in

North Attleboro, Massachusetts 02760.

       17.     Defendant Nicole Carges is the Treasurer of Abundant Hope and resides in North

Attleboro, Massachusetts 02760.

       18.     Defendant Darlene Howard is the Executive Director of Abundant Hope and resides

in Mansfield, Massachusetts 02048.

       19.     At all relevant times Defendants Roman, Carges, and Howard have controlled and

directed the actions of AWHC.

                                        JURISDICTION

       20.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 because this action includes claims arising under the laws of the United States,

specifically the U.S. Computer Fraud & Abuse Act (“CFAA”), 18 U.S.C. § 1030, et seq.; and Title

I of the Electronic Communications Privacy Act of 1986, 18 U.S.C. § 2510, et seq. (“Federal

Wiretap Act”). The Court has supplemental jurisdiction over the state law claims herein pursuant

to 28 U.S.C. § 1367 because the claims are so related to the federal claims for which this Court

has original jurisdiction that they form part of the same controversy.

                                                 4
          Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 5 of 27




       21.       This Court has personal jurisdiction over Defendants because AWHC has a

principal place of business in the Commonwealth of Massachusetts and Defendants Roman,

Carges, and Howard reside and are domiciled in the Commonwealth of Massachusetts.

       22.       Venue is proper in this district pursuant to 28 U.S.C. § 1391 (b)(1) and (2) because

Defendants reside in the District of Massachusetts and the events giving rise to the claims in this

action occurred in substantial part within this District.

                                               FACTS

I.     Four Women Provides Legal Reproductive Healthcare to Women Who Seek It.

       23.       Four Women is licensed with the Massachusetts Department of Public Health as a

clinic and ambulatory surgical center that provides comprehensive gynecological care.

       24.       Founded in 1998 to ensure that all women have access to high quality reproductive

healthcare, Four Women serves communities that often lack access to care—especially low-

income communities. It is one of only three reproductive healthcare clinics that provide abortion

care in southeastern Massachusetts, and the only one offering surgical abortion services. Since

April 2003, Four Women has maintained a fully licensed surgery center with experienced staff,

including licensed medical doctors, nurses, and medical assistants.

       25.       Four Women provides a range of reproductive healthcare services, including birth

control information and prescriptions, ultrasounds, abortion care, and more. As Four Women is a

for-profit entity, they charge for their services, accepting health insurance and direct payments

from patients.

II.    AWHC Is Not a Licensed Medical Facility in the Commonwealth.

       26.       AWHC is not licensed by the Massachusetts Department of Public Health to

provide medical care.



                                                  5
          Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 6 of 27




       27.     Massachusetts law requires clinics, which include “any entity, however organized,

whether conducted for profit or not for profit, that is advertised, announced, established, or

maintained for the purpose of providing ambulatory medical . . . services,” to be licensed by the

Department of Public Health. 2 “Ambulatory medical services are services providing diagnosis or

treatment of a health condition and include procedures such as diagnosing pregnancies, performing

ultrasounds and other clinical procedures.” 3

       28.     AWHC purports to provide ambulatory medical services, including diagnosing

pregnancies and performing ultrasounds.

       29.     Providing diagnosis regarding viability and location of the fetus without the

assistance of a licensed doctor or Advanced Practice Registered Nurse is a violation of

Massachusetts regulations pertaining to the practice of medicine and nursing.

       30.     Upon information and belief, AWHC staff that is not licensed to diagnose a

pregnancy conveys a diagnosis prior to the participation of medical staff licensed to do so.

       31.     AWHC is organized as a nonprofit and purports to provide medical services to

patients at no cost. The individual defendants play a leadership role in developing and executing

its mission as well as fundraising.

       32.     AWHC has attempted to use the legal system to intimidate Four Women. For

example, on June 22, 2022, AWHC sent Four Women a letter threatening a lawsuit under

Massachusetts General Laws ch. 93A, § 11. The accusations in the letter were baseless, as Four




2
  Reminder to Licensees Regarding Licensure Obligations and Providing Standard of Care, Robert
Goldstein, MD, PhD, Commissioner, Department of Public Health Executive Office of Health and
Human Services for the Commonwealth of Massachusetts, 1 (Jan. 3, 2024), available at
https://www.mass.gov/doc/reminder-to-licensees-regarding-licensure-obligations-and-providing-
standard-of-care-january-3-2024/download (citing M.G.L. c. 111, § 51).
3
  Id.
                                                 6
          Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 7 of 27




Women stated in its letter in response. True and accurate copies of both letters are attached hereto

as Exhibit A.

III.    AWHC Works to Interfere with the Reproductive Healthcare Services Marketplace
        Through False and Deceptive Advertising.

        33.     AWHC’s primary mission is to inject itself into the reproductive healthcare

marketplace to prevent women from accessing all legally protected reproductive healthcare, with

a specific focus on preventing women from accessing abortion care.

        34.     AWHC purports to provide reproductive healthcare services.

        35.     AWHC advertises on its website that it provides “medical appointments” and

“medical tests.” 4

        36.     Defendants proclaim that they have performed hundreds of “medical

appointments” and “medical tests,” at the monetary value of $157,000 in 2023 alone. 5

        37.     Defendants tout these medical “services,” including how they interfere with women

accessing Four Women, in connection with efforts to raise funds from donors for their work

manipulating the reproductive healthcare marketplace.

        38.     AWHC advertises, including through the purchase of Google advertising, that it

provides medical services to women including pregnancy testing, ultrasounds, pregnancy

consultation, and testing for sexually transmitted diseases. 6

        39.     AWHC advertises that its ultrasounds identify (1) the gestational age of a fetus; (2)

the location of the pregnancy, by determining whether the pregnancy is intrauterine or ectopic—




4
  See “About,” Attleboro Women’s Health Center, https://awhc.net/services/ (last visited Aug. 21,
2024).
5
  See “About Us,” Abundant Hope Pregnancy Resource Center, https://www.ahprc.org/about/ (last
visited Aug. 28, 2024).
6
  See “Services,” Attleboro Women’s Health Center, https://awhc.net/services/ (last visited Aug.
13, 2024).
                                                  7
           Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 8 of 27




meaning outside the uterus and not viable; and (3) any cardiac activity, which “can verify that the

fetus is viable.” 7

        40.      According to the American College of Obstetricians and Gynecologists, “[t]he

concept of viability of a fetus is frequently misrepresented or misinterpreted based on ideological

principles.” 8 The term has two meanings: “In the first, ‘viability’ addresses whether a pregnancy

is expected to continue developing normally.           In early pregnancy, a normally developing

pregnancy would be deemed viable, whereas early pregnancy loss or miscarriage would not. In

the second, ‘viability’ addresses whether a fetus might survive outside of the uterus. Later in

pregnancy, a clinician may use the term ‘viable’ to indicate the chance for survival that a fetus has

if delivered before it can fully develop in the uterus.” 9

        41.      It is the latter form of “viability” that has been used in connection with abortion

care from a legal standpoint, as many state laws (such as Massachusetts) prohibit abortion after a

fetal gestational age (typically between 24 and 26 weeks) that is widely considered “fetal

viability.”

        42.      The first definition of “viability” has no connection with abortion care. There is no

scientific or legal basis to restrict a woman’s access to abortion care based on whether her early

pregnancy is developing normally.

        43.      AWHC misuses the term “viability” to confuse and mislead women seeking

abortion care.




7
   See “Ultrasounds,” Attleboro Women’s Health Center, https://awhc.net/services/ultrasounds/
(last visited Aug. 13, 2024).
8
      See     “Facts    Are   Important:   Understanding     and    Navigating     Viability,”
https://www.acog.org/advocacy/facts-are-important/understanding-and-navigating-viability (last
visited Aug. 31, 2024).
9
  Id.
                                                   8
           Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 9 of 27




         44.   For example, AWHC’s website contains a page titled “Thinking About Abortion?”

which instructs women seeking abortions to first “confirm” their pregnancy with an ultrasound,

stating: “Even if you’ve taken a home pregnancy test, you need more information. It’s critical to

confirm that your pregnancy is viable (growing inside the uterus with a detectable heartbeat) with

an ultrasound.”

         45.   Invoking “viability” is calculated to deceive women seeking abortion care to delay

them beyond the recommended time for a medication abortion, which is ordinarily limited to the

first 10 weeks of pregnancy. 10

         46.   AWHC’s guidance on “viability” also includes dangerous misinformation about

ectopic pregnancies.

         47.   On the same page of AWHC’s website, below the heading “Why Is It Important To

Confirm Your Pregnancy If You Want An Abortion?”, AWHC states that ectopic pregnancies or

active sexually transmitted infections can cause life-threatening outcomes.

         48.   AWHC also counsels women through distributed printed materials that “[y]ou may

have a serious ectopic pregnancy and abortion is dangerous.” 11

         49.   These materials convey the message that it would be unsafe for women with ectopic

pregnancies to receive abortions. This advice is more than false; it puts women at grave risk.

         50.   In fact, failure to terminate an ectopic pregnancy can cause serious bodily harm or

death.    According to the American College of Obstetricians and Gynecologists, “ectopic




10
   Medication abortion mifepristone is safe through 70 days (10 weeks) of pregnancy. See
“Information about Mifepristone for Medical Termination of Pregnancy Through Ten Weeks
Gestation,” U.S. Food and Drug Administration, https://www.fda.gov/drugs/postmarket-drug-
safety-information-patients-and-providers/information-about-mifepristone-medical-termination-
pregnancy-through-ten-weeks-gestation, (last visited August 31, 2024).
11
   Heartbeat International provides propaganda to AWHC, including a pamphlet deceiving women
about ectopic pregnancies. See Exhibit B.
                                                9
           Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 10 of 27




pregnancies will never be viable, and the treatment for ectopic pregnancy requires ending the

nonviable pregnancy.” 12 Even with proper diagnosis and management, “ectopic pregnancy

continues to be a significant cause of pregnancy-related mortality and morbidity” and is “the

leading cause of hemorrhage-related mortality.” Exhibit C.

       51.      AWHC’s preventing women from terminating ectopic pregnancies can therefore

cause grave, even fatal harm to the women.

IV.    AWHC Specifically Directs Its Deception Toward Women Seeking Services from
       Four Women.

       52.      In or around May 2018, AWHC attempted to move into the same address as Four

Women, 150 Emory Street.

       53.      When this failed, AWHC moved its principal office to 152 Emory Street directly

next to Four Women.

       54.      150 Emory Street and 152 Emory Street share a driveway and parking lot.

       55.      AWHC leverages its physical proximity in its tactics to both insert itself into the

reproductive healthcare marketplace and target women intending to access reproductive healthcare

services from Four Women.

       56.      First, women seeking reproductive healthcare services occasionally make

appointments with AWHC, believing they are making appointments at Four Women.

       57.      Prospective patients, perhaps aware that the only abortion care provider in the

region is in Attleboro, Massachusetts, are reasonably misled by AWHC’s name and website to

believe that AWHC provides such services. For example:

       •     AWHC’s website contains a page titled “Options,” of which the first “option” listed is


12
      See    “Facts    Are  Important:     Understanding     and    Navigating     Viability,”
https://www.acog.org/advocacy/facts-are-important/understanding-and-navigating-viability (last
visited, August 31, 2024).
                                                 10
            Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 11 of 27




              abortion. 13

        •     AWHC’s website contains a page titled “Abortion,” and lists questions women may
              have “about the abortion pill and other abortion procedures,” and directs women who

              are “thinking about abortion” to make an appointment with a button highlighted in

              green, stating “MAKE AN APPOINTMENT.” 14

        •     The page also contains quotes purporting to be a testimonial regarding AWHC’s
              services, which states: “Great place for women considering abortion. Staff is friendly

              and nonjudgmental.”

        58.        When women contact AWHC seeking abortion care, they are not informed that

AWHC does not provide abortion care; they are instead given appointments at AWHC.

        59.        Then, Defendants interfere with women’s physical access to Four Women.

        60.        Individuals acting on behalf of Defendants obstruct Four Women’s main driveway

by pacing with placards at the entrance. Ride-sharing drivers often refuse to enter Four Women’s

parking lot due to the conduct of the individuals with the placards, instead dropping patients in the

street where AWHC can engage and interfere with them. This interference includes, but is not

limited to, AWHC approaching patients to attempt to give them literature and other information.

        61.        To assist patients in overcoming AWHC’s interference, Four Women relies on

volunteers, who wear colored and labeled parking vests to protect patient access and escort them

to the facility.

        62.        Individuals acting on behalf of AWHC, however, often wear vests to appear as Four

Women volunteers and confuse and deceive the patients.




13
  “Options,” Attleboro Women’s Health Center, https://awhc.net/options/ (last visited Aug. 13,
2024).

                                                  11
         Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 12 of 27




       63.     In addition, when women inadvertently enter AWHC for their Four Women

appointments, they are not informed that they are in the wrong place.

       64.     Instead, AWHC engages in conduct to prevent women from leaving its premises,

including conducting lengthy intake procedures; obtaining, holding, and copying personal

identification cards; sequestering women in isolated rooms; and conducting tests appearing to be

ultrasounds.

       65.     AWHC’s presentation of its staff as medical—although by information and belief

they are unlicensed—is coercive. Women held in isolation rooms under the auspices of receiving

testing or “counseling” necessary for medical treatment often do not feel free to leave the premises

or refuse to comply with what they are led to believe are medical instructions.

       66.     As an example, in or around March of 2024, Jane Doe 1 undertook efforts to seek

reproductive healthcare, specifically a medication abortion. 15

       67.     Through its online advertising, AWHC led Jane Doe 1 to believe that AWHC was

the Attleboro clinic that provided abortions—i.e., that AWHC was Four Women.

       68.     Jane Doe 1’s support person called AWHC on her behalf to schedule an

appointment for a medication abortion, and AWHC—rather than stating that they do not provide

such care—made an appointment for her. Accordingly, AWHC led Jane Doe 1 to believe that her

AWHC appointment was for the medication abortion services she sought.

       69.     Jane Doe 1 brought cash with her to the appointment as she was prepared to pay for

the reproductive healthcare services. Upon arrival at her appointment, AWHC requested Jane Doe



15
  Four Women patients are referred to herein using pseudonyms. See Doe v. Bell Atl. Bus. Sys.
Servs., Inc., 162 F.R.D. 418, 420 (D. Mass. 1995) (courts permit the utilization of pseudonyms for
parties “in cases involving social stigmatization [or] real danger of physical harm . . . . Cases in
which parties are allowed to proceed anonymously because of privacy interests often involve
abortion.”).
                                                12
         Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 13 of 27




1’s identification and informed her that they accepted health insurance, so the cash was not

necessary.

       70.     AWHC then brought Jane Doe 1 to a room away from the waiting room with only

one door, no windows, and no phone.

       71.     Jane Doe 1 was accompanied to AWHC by a support person, but Jane Doe 1 was

sequestered in this room alone with AWHC staff.

       72.     AWHC kept Jane Doe 1 in this sequestration room for more than an hour, during

which time AWHC staff provided medically inaccurate information regarding abortions.

       73.     AWHC misled Jane Doe 1 to believe that this consultation was a required step in

the process for undergoing an abortion and, therefore, that she could not leave if she wanted to

obtain the services she sought.

       74.     AWHC staff then brought Jane Doe 1 to another room where three employees—

including one self-identified ultrasound technician and one self-identified Registered Nurse—

purported to perform an ultrasound.

       75.     There was no doctor present at any point during Jane Doe 1’s experience at AWHC.

       76.     The AWHC staff told Jane Doe 1 that no heartbeat could be detected but provided

ultrasound images to her purportedly stating the gestational age of her fetus.         Using this

information, they informed her that she could not undergo an abortion at that time as she was only

six weeks pregnant.

       77.     Jane Doe 1 requested to still undergo the medication abortion, but AWHC

instructed her that in order to do so she would need to return in two weeks for another ultrasound.

       78.     Jane Doe 1 believes she was ten weeks pregnant at the time.




                                                13
         Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 14 of 27




       79.    AWHC’s behavior during Jane Doe 1’s visit was designed to mislead Jane Doe 1

and delay and even—by providing false medical advice, causing her to endure a difficult

appointment, misdiagnosing her pregnancy, and ultimately declining her the treatment she

sought—prevent her from obtaining abortion care services from Four Women.

       80.    Following her AWHC appointment, Jane Doe 1 scheduled an appointment with

Four Women.

       81.    A few days later, Jane Doe 1 attended her appointment with Four Women. While

she was actually inside Four Women’s office for that appointment, AWHC called Jane Doe 1 on

her cell phone. Jane Doe 1, unaware that the caller was AWHC, answered the call. The AWHC

speaker asked Jane Doe 1 about her plans with respect to her pregnancy. Jane Doe 1 realized the

speaker was AWHC and hung up the call.

       82.    While she was on this call, Jane Doe 1’s support person noticed an individual

circling the Four Women facility. Jane Doe 1 believes this person was affiliated with AWHC,

conducting surveillance, and had seen her enter Four Women.

       83.    AWHC’s actions, including holding Jane Doe 1 in isolated areas she did not feel

free to leave, calling her during her Four Women appointment, and appearing to surveil the Four

Women facility, placed Jane Doe 1 in apprehension and fear. Indeed, while she still seeks

reproductive healthcare from Four Women, including birth control, she does not go physically to

the facility out of fear of what AWHC had already done and might attempt to do next.

       84.    Jane Doe 1’s experience and her resulting trauma is not unique: Four Women staff

frequently hear from women they treat that AWHC has attempted to interfere with their access to

Four Women or deceived them about the reproductive healthcare services marketplace.




                                              14
         Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 15 of 27




       85.     For example, on or around October 25, 2023, Jane Doe 2 had an appointment at

Four Women, but because of AWHC’s deceptive in-person tactics, she inadvertently went into

AWHC’s facility. AWHC led Jane Doe 2 to believe that AWHC was Four Women, putting her

through their intake process and leading her to a sequestration room. While in the sequestration

room, AWHC staff attempted to dissuade Jane Doe 2 from her intended healthcare decisions

(terminating her pregnancy), and shamed her for that decision.

       86.     Jane Doe 3 and Jane Doe 4 also both had appointments with Four Women but

inadvertently ended up in AWHC due to in-person misdirection.

       87.     In October 2023, upon arrival at AWHC, Jane Doe 3 stated that she had an

appointment. AWHC knew Jane Doe 3 did not have an appointment at AWHC, but staff did not

inform her until she had checked in and provided her identification, which AWHC copied, that she

was in the wrong place.

       88.     In November 2023, Jane Doe 4 arrived at AWHC for a Four Women appointment.

She told AWHC she had an appointment—AWHC knew Jane Doe 4 did not have an appointment

there but did not inform her until after she spent twenty minutes completing paperwork, copying

her identification, and asking her probing questions.

       89.     AWHC’s actions delay and potentially prevent Four Women’s patients from

accessing Four Women and attending their scheduled appointments at Four Women.

V.     AWHC Intercepts Four Women’s Confidential Patient-Client Communications and
       Contacts Patients Directly.

       90.     Recently, AWHC has realized that they need not simply wait for Four Women

patients to see their marketing and come to them. Instead, AWHC has become more proactive,

using technology to target women seeking reproductive healthcare services from Four Women and

reaching out to them directly.


                                                15
         Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 16 of 27




       91.    Specifically, on multiple occasions over the past year, AWHC has intercepted

electronic communications between patients and Four Women as they are scheduling

appointments. Using information gained through this interception, AWHC then called Four

Women patients directly on their cell phones.

       92.    Many patients schedule appointments with Four Women by phone, simply by

calling Four Women. Many other patients schedule appointments with Four Women online.

       93.    Four Women’s website contains a widget that permits patients or potential patients

to make appointments or send messages to Four Women.

       94.    The widget connects to a platform managed by Klara Technologies, Inc. (“Klara”),

which facilitates secure patient messaging, among other services.




                                                                    16




16
   Screen shot of Four Women Health Services, https://www.fourwomen.com/ (last visited Sep.
1, 2024).
                                                16
         Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 17 of 27




       95.     When patients select “Send us a message” on the Klara widget, they are prompted

to type their message and provide their cell phone number so that Four Women may respond.

       96.     Four Women staff then responds using the organization’s Klara page, which staff

can access using a browser on their computer or an application on their mobile device.

       97.     Messages sent by Four Women staff using the Klara platform are then sent to the

inquiring patients on their respective devices.

       98.     Immediately after booking an appointment, appointment information—including

the patient’s name, phone number, and appointment type—is uploaded to Athenahealth, Inc.

(“Athena”), a third-party electronic health record system.

       99.     Four Women uses Athena to manage patient health records and information. Four

Women’s Athena platform stores patient records, appointments, and information. Four Women’s

patient visitation schedule also resides on the Athena platform.

       100.    Recently, Four Women has learned of multiple instances in which electronic

communications with patients sent via Klara were apparently intercepted by AWHC.

       101.    For example, on or about 1:25 p.m. on October 30, 2023, Jane Doe 5 contacted

Four Women seeking to schedule an ultrasound after testing positive on a home pregnancy test.

       102.    Through electronic messaging facilitated by Klara, Four Women staff

communicated with Jane Doe 5 about scheduling an appointment. At 1:40 p.m., Four Women

wrote: “We have appointments on Wednesday, Thursday or Friday this week.”

       103.    At 1:55 p.m., Jane Doe 5 responded: “I received a call from someone at your office

and I scheduled an appointment for Thursday morning at 9:15.”




                                                  17
         Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 18 of 27




       104.    Four Women had not called Jane Doe 5.

       105.    Four Women informed Jane Doe 5 that no one in the Four Women office had called

her, and that Four Women does not see patients on Thursday mornings.

       106.    Jane Doe 5 received a text confirmation for her Thursday appointment, which stated

that the appointment was with AWHC.

       107.    Jane Doe 5 had never contacted or communicated with AWHC prior to October 30.

       108.    Jane Doe 5’s October 30 messages with Four Women was the only method by

which AWHC could have obtained Jane Doe 5’s contact information and known that she was

pursuing reproductive healthcare services that day. AWHC’s interference occurred in real time,

offering an appointment on one of the three days identified by Four Women less than 15 minutes

prior. Thus, on information and belief, AWHC intercepted Jane Doe 5’s communications with

Four Women that day and obtained both her cell phone number and the content of the

communication.

       109.    AWHC’s practice of calling women who have communicated with Four Women is

not isolated to Jane Doe 5.



                                               18
         Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 19 of 27




       110.    As a further example, Jane Doe 6 scheduled an appointment for a medication

abortion with Four Women on or about May 1, 2024. At 9:05 a.m., Jane Doe 6 contacted Four

Women to schedule an appointment.

       111.    Jane Doe 6 and Four Women then messaged using the Klara platform to schedule

an appointment. At 10:09 a.m., Four Women sent Jane Doe 6 a link on Klara that she could use

to upload insurance information.

       112.    Two minutes after Four Women’s message, AWHC called Jane Doe 6.

       113.    Specifically, Jane Doe 6 received a call at 10:11 a.m. from the phone number (508)

455-0172.

       114.    AWHC’s phone number is (508) 455-0172.

       115.    Jane Doe 6 answered the call. During the call, AWHC made misleading statements

to indicate it was the entity with which she had made an appointment. AWHC stated it had

received her online request for an appointment and that she was required to undergo an ultrasound

prior to the medication abortion to verify the pregnancy and see if it is viable.

       116.    AWHC’s statements to Jane Doe 6 contradict medical advice and reproductive

healthcare standards of care.

       117.    AWHC’s tactics are not limited to patients seeking abortion care. AWHC also

seeks to interfere with women seeking other reproductive healthcare services from Four Women.

       118.    For example, on or around August 31, 2023, Jane Doe 7 contacted Four Women

and scheduled an appointment for birth control.

       119.    Minutes after booking an appointment with Four Women, Jane Doe 7 received a

call from AWHC. During the call, AWHC personnel stated that it could not provide her with birth

control and invited her instead to a diaper give-away. AWHC deceived Jane Doe 7 to believe that



                                                 19
         Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 20 of 27




she was speaking with Four Women and not AWHC. At the end of the call, Jane Doe 7 believed

that her appointment with Four Women had been canceled.

        120.    Additionally, on or around May 6, 2024, Jane Doe 8 messaged Four Women using

its online platform, operated by Klara, and made an appointment for a medication abortion.

        121.    On the day of her appointment, AWHC called Jane Doe 8 on her cell phone. On

the call, AWHC attempted to persuade Jane Doe 8 to come to AWHC before or in lieu of Four

Women. Jane Doe 8 had never previously contacted AWHC and does not know how AWHC

obtained her contact information.

        122.    AWHC intercepted Jane Doe 5-8’s, phone, online, and/or text communications

with Four Women and used it to obtain names, phone numbers, and appointment requests, and

ultimately contact the patient with the sole purpose of preventing her from accessing reproductive

healthcare at Four Women.

        123.    Four Women is aware of this interception through women who have informed Four

Women of AWHC’s conduct.            AWHC has likely intercepted countless other women from

accessing reproductive healthcare at Four Women. On a regular basis, women who have scheduled

appointments through online communications or using the appointments option in the Klara widget

cancel or do not show up for their appointments. Four Women thus reasonably believes there are

women for whom AWHC’s conduct has prevented their access to Four Women altogether.

                                            COUNT I

          Violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030, et seq.

        124.    Four Women incorporates the allegations contained in Paragraphs 1 - 121 as if fully

set forth herein.

        125.    Four Women brings this action under 18 U.S.C. § 1030(g) allowing any injured

person to maintain a civil action against the violator of the CFAA.

                                                20
           Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 21 of 27




          126.   Four Women’s computer system and web-based platforms are a “protected

computer” within the meaning of the CFAA because they were used in or affected interstate or

foreign commerce or communication and each constitutes an electronic, cloud-based, or other

high-speed data processing device performing logical, arithmetic, or storage functions, or a data

storage facility or communications facility directly related to or operating in conjunction with such

device.

          127.   Four Women did not authorize AWHC to access its computer system or web-based

platforms.

          128.   AWHC nevertheless accessed Four Women’s computer system and/or web-based

platforms and obtained information from that system, including the names and contact information

of patients or women seeking to make appointments with Four Women.

          129.   For example, AWHC gained unauthorized access to Four Women’s electronic

communications with Jane Does 5-8 as they were in the process of or had recently completed

communicating with Four Women to schedule appointments.

          130.   As a consequence of the foregoing, Four Women has suffered and will continue to

suffer irreparable harm.

          131.   By engaging in the foregoing conduct, AWHC violated 18 U.S.C. § 1030(a)(2)(C).

          132.   AWHC’s unauthorized access to Four Women’s computer system resulted in the

modification or impairment, or potential modification or impairment, of the medical examination,

diagnosis, treatment, or care of one or more Four Women patients.

          133.   AWHC’s unauthorized access to Four Women’s computer system resulted in Four

Women accruing costs responding to the offense and lost revenue and other consequential damages

exceeding $5,000.



                                                 21
         Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 22 of 27




        134.    A violation of 18 U.S.C. § 1030(a)(2)(C) that results in the modification or

impairment, or potential modification or impairment, of the medical examination, diagnosis,

treatment, or care of one or more individuals entitles Four Women to injunctive relief. 18 U.S.C.

§ 1030(g).

                                              COUNT II

                    Violation of the Federal Wiretap Act, 18 U.S.C. § 2510, et seq.

        135.    Four Women incorporates the allegations contained in Paragraphs 1 - 132 as if fully

set forth herein.

        136.    Four Women brings this action under 18 U.S.C. § 2511(1)(a), allowing any injured

person to maintain a civil action against the violator of the Federal Wiretap Act.

        137.    AWHC intended to intercept communications between Four Women and potential

or existing Four Women patients.

        138.    AWHC intercepted electronic and/or telephonic communications between Four

Women and women seeking appointments or services with Four Women, including between

patients’ cell phones and Four Women’s account on the Klara online platform.

        139.    AWHC’s        interception   of   Four   Women’s   electronic   and/or   telephonic

communications was contemporaneous with the communications as they were made:                  For

example, AWHC called Jane Doe 5 as she was in the course of messaging Four Women to make

her appointment and called Jane Doe 6 within minutes of making her appointment and messaging

with Four Women online. Jane Doe 7 received a call on her cell phone from AWHC minutes after

making an appointment with Four Women.

        140.    AWHC’s interception of communications included such content as patient names,

phone numbers, and the patients’ requests for appointments with Four Women.



                                                   22
         Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 23 of 27




        141.    AWHC intercepted electronic and/or telephonic communications made by Four

Women using its own electronic devices, including its web server, to gain unauthorized access to

Four Women’s electronic and/or telephonic messages, including its Klara account.

        142.    AWHC’s conduct has caused irreparable harm to Four Women and the patients

pursuing care with Four Women.

        143.    A violation of 18 U.S.C. § 2511(1)(a) entitles Four Women to injunctive relief,

statutory damages of $100 a day for each day of violation or $10,000, whichever is greater, and

reasonable attorney’s fees and costs. 18 U.S.C § 2520(a)-(c).

                                           COUNT III

               Violation of the Massachusetts Wiretap Act, M.G.L. c. 272, § 99

        144.    Four Women incorporates the allegations contained in Paragraphs 1 - 141 as if fully

set forth herein.

        145.    Four Women brings this action under M.G.L. c. 272, § 99 (“Massachusetts Wiretap

Act”), allowing any injured person to maintain a civil action against the violator of the

Massachusetts Wiretap Act.

        146.    Four Women engaged in wire communications when it messaged with Four

Women patients and scheduled appointments with Four Women patients electronically or

telephonically, including via the Klara platform.

        147.    The contents of Four Women’s wire communications were intercepted when

AWHC secretly recorded them by copying down patient names, phone numbers, and the patients’

requests for appointments with Four Women.

        148.    AWHC intercepted communications made by Four Women using its own

intercepting devices, including its web server, to gain unauthorized access to Four Women’s

electronic and/or telephonic messages, including its Klara account.

                                                23
         Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 24 of 27




        149.    AWHC’s conduct has caused irreparable harm to Four Women and the patients

pursuing care with Four Women.

        150.    AWHC’s willful violation of M.G.L. c.          272, § 99 entitles Four Women to

injunctive relief, statutory damages computed at the rate of $100 per day for each day of violation

or $1,000, whichever is greater, and reasonable attorney’s fees and costs. M.G.L. c. 272, § 99.

                                             COUNT IV

       Violation of Massachusetts Consumer Protection Act M.G.L. c. 93A, § 1, et seq.

        151.    Four Women incorporates the allegations contained in Paragraphs 1 - 148 as if fully

set forth herein.

        152.    AWHC through its actions and advertising have engaged in unfair competition and

deceptive acts in order to manipulate the healthcare marketplace.

        153.    AWHC’s activities arise in a business context and thus it is engaged in trade and

commerce.

        154.    AWHC’s actions are willful and knowing as it did so with the intent to manipulate

the healthcare marketplace.

        155.    AWHC’s willful violation of M.G.L. c. 93A, § 11 entitles the Plaintiff to injunctive

relief, actual damages, treble damages, and reasonable attorney’s fees and costs.

        156.    “[A]n act or practice is a violation of M.G.L. c.93A, § 2 if . . . [i]t fails to comply

with existing statutes, rules, regulations or laws, meant for the protection of the public’s health,

safety, or welfare promulgated by the Commonwealth or any political subdivision thereof intended

to provide the consumers of this Commonwealth protection.” 940 Mass. Code Regs. 3.16(3).

        157.    The Department of Public Health’s authorizing statute, including M.G.L. ch. 111 §

51, and regulations require that an entity advertised, announced, established, or maintained for the



                                                  24
         Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 25 of 27




purpose of providing ambulatory medical services, including performing ultrasounds, must be

licensed with the Department of Public Health.

       158.    The Department of Public Health authorizing statute and its regulations are meant

for the protection of the public health.

       159.    The Defendants advertise, announce, establish, and maintain AWHC as providing

ambulatory medical services, including ultrasounds.

       160.    AWHC is not licensed with the Department of Public Health.

       161.    AWHC advertising, announcing, establishing, and maintaining AWHC as an

ambulatory medical service without a license violates the Department of Public Health statute and

regulations.

       162.    AWHC’s activities arise in a business context and thus it is engaged in trade and

commerce.

       163.    AWHC’s actions are willful and knowing as it did so with the intent to manipulate

the healthcare marketplace.

       164.    AWHC violation of these statutes and regulations is a violation of M.G.L. c. 93A

and 940 Mass. Code Regs. 3.16(3).

       165.    AWHC’s willful violation of M.G.L. c. 93A, § 11 entitles the Plaintiff to injunctive

relief, actual damages, treble damages, and reasonable attorney’s fees and costs.

                                     PRAYER FOR RELIEF

WHEREFORE, Four Women respectfully pray that this Court:

       a. Enter judgment in favor of Four Women and against AWHC on all counts of the
          Complaint;




                                                 25
 Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 26 of 27




b. Enter preliminary and permanent injunctions preventing AWHC from:

                   i. Accessing any Four Women computer system;

                  ii. Obtaining or interfering with Four Women’s communications with
                      patients or prospective patients;

                  iii. Misleading and directing women seeking medical services at Four
                       Women to enter AWHC’s premises for consultations or
                       ultrasounds;

                  iv. Providing ultrasounds or any diagnosis from ultrasounds;

                  v. Promoting itself in any way as providing a team of board-certified
                     doctors and nurses that utilize ultrasounds to diagnose the viability
                     of a pregnancy;

                  vi. Promoting itself in any way as providing the full range of
                      appropriate and standard medical care and instead disclose that its
                      purpose is to deter and prevent abortion; and

                 vii. Communicating with or contacting Four Women patients or
                      prospective patients.

c. Award damages as follows:

                   i. Award statutory damages of $100 a day for each day of violation
                      or $10,000, whichever is greater, pursuant to 18 U.S.C § 2520(a)-
                      (c).

                  ii. Award statutory damages of $100 per day for each day of violation
                      or $1,000, whichever is greater, pursuant to M.G.L. c. 272, § 99.

                  iii. Award treble damages and interest pursuant to M.G.L. c. 93A, § 11
                       for unfair trade practices.

d. Award Four Women the cost of this action; and

e. Award such other and further relief as the Court may deem just and proper.


                         DEMAND FOR JURY TRIAL

Plaintiff Four Women demands a trial by jury on all issues so triable.




                                        26
      Case 1:24-cv-12283-JEK Document 1 Filed 09/05/24 Page 27 of 27




DATED: September 5, 2024            Four Women Health Services, LLC,

                                    By its attorneys,


                                    /s/ Matthew Patton ____________________
                                    Matthew D. Patton (BBO No. 703798)
                                    Law Office of Nicholas F. Ortiz, P.C.
                                    One Boston Place, Suite 2600
                                    Boston, MA 02108
                                    (617) 338-9400
                                    mdp@mass-legal.com

                                    /s/ Emily Nash
                                    Martha Coakley (BBO #87300)
                                    Emily J. Nash (BBO #696460)
                                    Caroline Holliday (BBO #707301)
                                    FOLEY HOAG LLP
                                    155 Seaport Boulevard
                                    Boston, MA 02210
                                    Telephone: (617) 832-1000
                                    Facsimile: (617) 832-7000
                                    mcoakley@foleyhoag.com
                                    enash@foleyhoag.com

                                    Brenna Rosen (pro hac vice forthcoming)
                                    FOLEY HOAG LLP
                                    1301 Avenue of the Americas
                                    New York, New York 10019
                                    brosen@foleyhoag.com




                                    27
